Case 2:21-cv-04920-WLH-ADS        Document 474 Filed 10/18/24   Page 1 of 12 Page ID
                                       #:14418



   1   Michael J. Bowe                         David M. Stein (State Bar # 198256)
       (pro hac vice)                          dstein@olsonstein.com
   2   mbowe@brownrudnick.com                  OLSON STEIN LLP
       Lauren Tabaksblat                       240 Nice Lane # 301
   3   (pro hac vice)                          Newport Beach, CA 92663
       ltabaksblat@brownrudnick.com            Phone: 949.887.4600
   4   BROWN RUDNICK LLP
       7 Times Square
   5   New York, NY 10036
       Phone: 212.209.4800
   6   Fax: 212.209.4801
   7   Attorneys for Plaintiff
   8
   9
  10                       UNITED STATES DISTRICT COURT
  11                     CENTRAL DISTRICT OF CALIFORNIA
  12
  13 SERENA FLEITES,                              Case No. 2:21-cv-4920-WLH-ADS
  14                 Plaintiff,
                                                 JOINT STIPULATION TO
  15        v.                                   REQUEST (A) EXTENSION OF
                                                 REMAINING BRIEFING
  16                                             SCHEDULE FOR
     MINDGEEK S.A.R.L. a foreign entity;         DEFENDANTS’ RESPONSES TO
  17 MG FREESITES, LTD., a foreign               PLAINTIFF’S SECOND
                                                 AMENDED COMPLAINT IN
  18 entity; MINDGEEK USA                        FLEITES ACTION AND (B)
     INCORPORATED, a Delaware                    LIMITED COORDINATION
  19                                             FOR PURPOSES OF
     corporation; MG PREMIUM LTD, a              RESPONDING TO
  20 foreign entity; MG GLOBAL                   COMPLAINTS IN RELATED
     ENTERTAINMENT INC., a Delaware              CASES
  21
     corporation; 9219-1568 QUEBEC,
  22 INC., a foreign entity; BERND               Judge: Hon. Wesley L. Hsu
     BERGMAIR, a foreign individual;
  23
     FERAS ANTOON, a foreign
  24 individual; DAVID TASSILLO, a               SAC filed: May 23, 2024
     foreign individual; VISA INC., a
  25
     Delaware corporation; REDWOOD
  26 CAPITAL MANAGEMENT, LLC, a
     Delaware corporation; REDWOOD
  27
     MASTER FUND, LTD, a foreign
  28
              JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
       BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
              PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS   Document 474 Filed 10/18/24   Page 2 of 12 Page ID
                                  #:14419



   1 entity; REDWOOD OPPORTUNITY
     MASTER FUND, LTD, a foreign
   2
     entity; MANUEL 2018, LLC, a
   3 Delaware corporation;
     GINGOGERUM, LLC, a Delaware
   4
     corporation; WHITE-HATHAWAY
   5 OPPORTUNITY FUND, LLC, a
     Delaware corporation; COLBECK
   6
     CAPITAL MANAGEMENT, LLC, a
   7 Delaware corporation, CB MEDIA
     VENTURES LLC, a Delaware
   8
     corporation; CB AGENCY SERVICES,
   9 LLC, a Delaware corporation; and CB
  10 PARTICIPATIONS SPV, LLC, a
     Delaware corporation,
  11
                   Defendants.
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
              JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
       BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
              PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS      Document 474 Filed 10/18/24        Page 3 of 12 Page ID
                                     #:14420



   1        Plaintiff Serena Fleites and Plaintiffs in the 14 Related Actions identified below,
   2 (collectively, “Plaintiffs”) and Defendants MindGeek S.à r.l., MG Freesites Ltd,
   3 MindGeek USA Incorporated, MG Premium Ltd, MG Global Entertainment Inc.,
   4 9219-1568 Quebec Inc., Visa Inc., Redwood Capital Management, LLC, Redwood
   5 Master Fund, Ltd, Redwood Opportunity Master Fund, Ltd, Manuel 2018, LLC,
   6 Gingogerum, LLC, and White-Hathaway Opportunity Fund, LLC, (collectively,
   7 “Redwood”), Colbeck Capital Management, LLC, CB Media Ventures LLC, CB
   8 Agency Services, LLC, and CB Participations SPV, LLC (collectively, “Colbeck”),
   9 Bernd Bergmair, Feras Antoon, and David Tassillo (collectively, “Defendants”)
  10 (collectively with Plaintiff, the “Parties”), by and through their counsel, hereby
  11 stipulate as follows:
  12        WHEREAS, on May 23, 2024, Plaintiff Serena Fleites filed both a Motion to
  13 Amend the Caption and a Second Amended Complaint (the “SAC”), which identifies
  14 Colbeck and Redwood as new defendants (ECF Nos. 384, 385, Fleites v. MindGeek
  15 S.a.r.l. et al., Case No. 21-cv-04920-WLH-ADS) (“Fleites Action”);
  16        WHEREAS, after filing the SAC, between June 7, 2024 and August 20, 2024,
  17 Plaintiff’s counsel Brown Rudnick LLP also filed fourteen (14) additional actions
  18 against the same Defendants in the United States District Court for the Central District
  19 of California, each of which has been designated as “related” and assigned to the
  20 Honorable Wesley L. Hsu (the “Related Actions”);
  21            • K.A. v. MindGeek S.A.R.L. et al., 24-cv-04786;
  22            • N.L. v. MindGeek S.A.R.L. et al., 24-cv-04788;
  23            • T.C. v. MindGeek S.A.R.L. et al., 24-cv-04795;
  24            • X.N. v. MindGeek S.A.R.L. et al., 24-cv-04800;
  25            • N.Y. v. MindGeek S.A.R.L. et al., 24-cv-04801;
  26            • L.T. v. MindGeek S.A.R.L. et al., 24-cv-04791;
  27            • J.C. v. MindGeek S.A.R.L. et al., 24-cv-04971;
  28                                      1
               JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
        BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
               PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS      Document 474 Filed 10/18/24     Page 4 of 12 Page ID
                                     #:14421



   1           • W.L. v. MindGeek S.A.R.L. et al., 24-cv-04977;
   2           • C.S. v. MindGeek S.A.R.L. et al., 24-cv-04992;
   3           • S.O. v. MindGeek S.A.R.L. et al., 24-cv-04998;
   4           • L.S. v. MindGeek S.A.R.L. et al., 24-cv-05026;
   5           • W.P. v. MindGeek S.A.R.L. et al., 24-cv-05185;
   6           • A.K. v. MindGeek S.A.R.L. et al., 24-cv-05190; and
   7           • J.L. v. MindGeek S.A.R.L., et al., 24-cv-07046.
   8        WHEREAS, on July 24, 2024, the Parties in the Fleites Action filed a Joint
   9 Stipulation Re Briefing Schedule for Defendants’ Responses to Plaintiff’s Second
  10 Amended Complaint, which set August 30, 2024 as Defendants’ deadline to respond
  11 to the SAC (“July 24 Joint Stipulation”) (ECF No. 419, Fleites v. MindGeek S.a.r.l. et
  12 al., Case No. 21-cv-04920-WLH-ADS);
  13        WHEREAS, on August 2, 2024, the Court granted the Parties’ July 24 Joint
  14 Stipulation and approved the following briefing schedule relating to the SAC (ECF
  15 No. 424, Fleites v. MindGeek S.a.r.l. et al., Case No. 21-cv-04920-WLH-ADS):
  16         August 30, 2024:       Each Defendant’s Deadline to Answer, Move, or
  17                                Otherwise Respond to the SAC;
  18         October 15, 2024:      Plaintiff’s Deadline to Respond to Each Defendant’s
  19                                Answer, Motion, or Response (if and as applicable);
  20         November 5, 2024:      Each Defendant’s Deadline to File Replies (if and as
  21                                applicable);
  22         November 22, 2024: Proposed Hearing on Each Defendant’s Answer,
  23                                Motion or Response (if and as applicable);
  24        WHEREAS, in 13 of the 14 Related Actions, the Court entered an Order
  25 Granting Joint Stipulation Re Briefing Schedule for Defendants’ Motions to Dismiss
  26 that set October 15, 2024 as Defendants’ deadline to answer, move, or otherwise
  27 respond to each complaint, and set January 10, 2025 as the hearing date for motions
  28                                      2
               JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
        BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
               PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS      Document 474 Filed 10/18/24       Page 5 of 12 Page ID
                                     #:14422



   1 filed in response to each complaint. WHEREAS, the case styled J.L. v. MindGeek
   2 S.à.r.l. et al., Case No. 2:24-cv-07046-WLH-ADS (C.D. Cal. Aug. 20, 2024) (the “J.L.
   3 case”) was only recently filed, so deadlines to respond to the complaint were not set in
   4 this Order;
   5         WHEREAS, in all 14 Related Actions, the Court later entered an Order Granting
   6 the Parties’ October 4, 2024 Joint Stipulation to Request Limited Coordination for
   7 Purposes of Responding to Complaints in Related Cases that extended the previous
   8 schedule and (a) set October 21, 2024 as Defendants’ deadline to answer, move, or
   9 otherwise respond to each complaint; (b) in each of the Related Actions, allowed each
  10 defense counsel to file a single omnibus motion to dismiss for the parties that they each
  11 represent which may incorporate by reference the arguments made in the parties’
  12 motions to dismiss filed in the Fleites Action; (c) allowed Plaintiffs’ counsel to file a
  13 single omnibus opposition to the collective motions to dismiss filed by Defendants in
  14 the Related Actions, which may incorporate by reference the arguments made by the
  15 Parties in the motion to dismiss briefing in the Fleites Action; (d) allowed each defense
  16 counsel to file one omnibus reply to each motion to dismiss filed in the Related
  17 Actions; (e) set January 10, 2025 as the hearing date for the motions filed in each case;
  18 (f) increased the page limit for each omnibus motion to dismiss to 50 pages and each
  19 omnibus reply to 35 pages; and (g) increased the page limit for Plaintiffs’ omnibus
  20 opposition to 85 pages.
  21         WHEREAS, on October 7, 2024, the Parties in the Fleites Action filed a Joint
  22 Stipulation to Request Extension of Remaining Briefing Schedule for Defendants’
  23 Responses to Plaintiff’s Second Amended Complaint, which set October 21, 2024 as
  24 Plaintiff’s deadline to file a single omnibus opposition to the collective motions to
  25 dismiss filed by Defendants, increased the page limit for Plaintiff’s opposition to 85
  26 pages, and increased the page limit for each Defendant’s reply to 20 pages (“October
  27 7 Joint Stipulation”) (ECF No. 472, Fleites v. MindGeek S.a.r.l. et al., Case No. 21-
  28                                      3
               JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
        BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
               PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS       Document 474 Filed 10/18/24      Page 6 of 12 Page ID
                                      #:14423



   1 cv-04920-WLH-ADS);
   2          WHEREAS, on October 11, 2024, the Court granted the Parties’ October 7 Joint
   3 Stipulation, and approved the following briefing schedule relating to the SAC (ECF
   4 No. 473, Fleites v. MindGeek S.a.r.l. et al., Case No. 21-cv-04920-WLH-ADS):
   5          October 21, 2024:       Plaintiff’s Deadline to Respond to Each Defendant’s
   6                                  Answer, Motion, or Response (if and as applicable);
   7          November 8, 2024:       Each Defendant’s Deadline to File Replies (if and as
   8                                  applicable);
   9          January 10, 2025:       Hearing on Each Defendant’s Answer, Motion or
  10                                  Response (if and as applicable);
  11          WHEREAS, given the length and complexity of the SAC in the Fleites Action
  12 and the complaints in the Related Actions, and the number of motions to dismiss, and
  13 in the interest of judicial economy, efficient case management, conservation of
  14 resources of the over 30 parties involved in the Related Actions, and coordination with
  15 the briefing schedules in the Fleites Action and the Related Actions, the Parties believe
  16 good cause exists to extend the current briefing schedule and (a) in the Fleites Action,
  17 set October 30, 2024 as the deadline for Plaintiff to file a single omnibus opposition
  18 responding to the motions to dismiss filed by Defendants; (b) in the Fleites Action, set
  19 December 6, 2024 as the deadline for each Defendant to file a reply; (c) in the Related
  20 Actions, set October 30, 2024 as the deadline for each of the Defendants to answer,
  21 move, or otherwise respond to the complaints; (d) in the Related Actions, set
  22 December 12, 2024 as the deadline for Plaintiffs to file a single omnibus opposition
  23 responding to the motions to dismiss filed by Defendants; and (e) in the Related
  24 Actions, set January 8, 2025 as the deadline for each Defendant to file an omnibus
  25 reply;
  26          WHEREAS, the Parties agree that, subject to the approval of the Court, there is
  27 good cause to modify the briefing schedules previously agreed to in the October 4 Joint
  28                                      4
               JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
        BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
               PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS      Document 474 Filed 10/18/24       Page 7 of 12 Page ID
                                     #:14424



   1 Stipulation to Request Limited Coordination for Purposes of Responding to
   2 Complaints in Related Cases filed in the Related Actions and the October 7 Joint
   3 Stipulation in the Fleites Action, to allow the Court additional time to consider this
   4 stipulation, the Plaintiff to prepare her omnibus opposition, and the Defendants to
   5 prepare their replies:
   6        Fleites Action
   7         October 30, 2024:         Plaintiff’s Deadline to Respond to Each Defendant’s
   8                                   Answer, Motion, or Response (if and as applicable);
   9         December 6, 2024:         Each Defendant’s Deadline to File Replies (if and as
  10                                   applicable);
  11         January 31, 2025:         Proposed Hearing on Each Defendant’s Answer,
  12                                   Motion or Response (if and as applicable);
  13        Related Actions
  14         October 30, 2024:      Each Defendant’s Deadline to Answer, Move, or
  15                                Otherwise Respond to the Complaints (if and as
  16                                applicable);
  17         December 12, 2024: Plaintiff’s Deadline to Respond to Each Defendant’s
  18                                Answer, Motion, or Response (if and as applicable);
  19         January 8, 2025:       Each Defendant’s Deadline to File Replies (if and as
  20                                applicable);
  21         January 31, 2025:      Proposed Hearing on Each Defendant’s Answer,
  22                                Motion or Response (if and as applicable);
  23
  24        WHEREAS, the foregoing opposition deadline in the Fleites Action mirrors the
  25 deadline for the Defendants to answer, move, or otherwise respond to the complaints
  26 in each of the Related Actions.
  27        IT IS FURTHER STIPULATED AND AGREED that Defendants preserve all
  28                                     5
              JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
       BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
              PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS      Document 474 Filed 10/18/24       Page 8 of 12 Page ID
                                     #:14425



   1 objections and defenses to the SAC and to each complaint in the 14 Related Actions,
   2 including any objection or defense on the ground of lack of personal jurisdiction.
   3        Accordingly, the Parties respectfully request that this Court set the remaining
   4 briefing and hearing schedule in the Fleites Action for Defendants’ responses to
   5 Plaintiff’s SAC, set the briefing and hearing schedule in the Related Actions for
   6 Defendants’ responses to the complaints, and enter the [Proposed] Order concurrently
   7 filed with this Joint Stipulation.
   8
   9        IT IS SO STIPULATED.
  10
  11 DATED: October 18, 2024              BROWN RUDNICK LLP
  12
  13                                      By:          /s/ Michael J. Bowe
  14                                            Michael J. Bowe
                                                Lauren Tabaksblat
  15
  16                                      OLSON STEIN LLP
  17
  18                                      By:         /s/ David M. Stein
  19                                            David M. Stein

  20                                            Attorneys for Plaintiff Serena Fleites
  21
  22
  23
  24
  25
  26
  27
  28                                      6
               JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
        BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
               PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS   Document 474 Filed 10/18/24     Page 9 of 12 Page ID
                                  #:14426



   1 DATED: October 18, 2024          MINTZ LEVIN COHN FERRIS GLOVSKY
                                      AND POPEO P.C.
   2
   3
                                      By:          /s/ Esteban Morales Fabila
   4                                        Esteban Morales Fabila
   5                                        Peter A. Biagetti

   6                                        Attorneys for Defendants MindGeek S.à.r.l.,
   7                                        MG Freesites Ltd, MindGeek USA
                                            Incorporated, MG Premium Ltd, MG
   8                                        Global Entertainment Inc., and 9219-1568
   9                                        Quebec Inc.

  10
  11 DATED: October 18, 2024          WEIL, GOTSHAL & MANGES LLP

  12
  13                                  By:         /s/ Drew Tulumello
                                            Drew Tulumello
  14                                        Attorneys for Defendant Visa Inc.
  15
  16
  17 DATED: October 18, 2024          MORVILLO ABRAMOWITZ GRAND
                                      IASON & ANELLO PC
  18
  19
                                      By:         /s/ Jonathan S. Sack
  20                                        Jonathan S. Sack
  21                                        Attorneys for Defendant David Tassillo
  22
  23
  24
  25
  26
  27
  28                                     7
              JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
       BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
              PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS   Document 474 Filed 10/18/24     Page 10 of 12 Page
                                 ID #:14427



  1 DATED: October 18, 2024           COHEN & GRESSER LLP
  2
  3                                   By:         /s/ Matthew V. Povolny
  4                                         Matthew V. Povolny
                                            Attorneys for Defendant Feras Antoon
  5
  6
  7 DATED: October 18, 2024           WALDEN MACHT HARAN & WILLIAMS
                                      LLP
  8
  9
                                      By:         /s/ Ronald G. White
 10                                         Ronald G. White
 11                                         Attorneys for Defendant Bernd Bergmair
 12
 13 DATED: October 18, 2024           PAUL HASTINGS LLP

 14
 15                                   By:         /s/ James M. Pearl
                                            James M. Pearl
 16                                         Adam M. Reich
 17                                         Emma Lanzon
                                            Kiaura Clark
 18                                         Attorneys for Defendant Redwood Capital
 19                                         Management, LLC
 20
      DATED: October 18, 2024         WHITE & CASE LLP
 21
 22
                                      By:         /s/ David G. Hille
 23                                         David G. Hille
 24                                         Kevin C. Adam
                                            Russell J. Gould
 25                                         Attorneys for Defendant Colbeck Capital
 26                                         Management, LLC
 27
 28                                      8
              JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
       BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
              PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS      Document 474 Filed 10/18/24        Page 11 of 12 Page
                                    ID #:14428



  1                             ATTESTATION STATEMENT
  2         I, Lauren Tabaksblat, the filer of this declaration, attest pursuant to Rule 5-
  3 4.3.4(a)(2) of the Local Rules for the United States District Court for the Central
  4 District of California that all other signatories listed, and on whose behalf the filing is
  5 submitted, concur in the filing’s content and have authorized the filing.
  6
  7 Dated: October 18, 2024                         BROWN RUDNICK LLP
  8
  9                                                 /s/ Lauren Tabaksblat
 10                                                 Lauren Tabaksblat

 11                                                 Attorney for Plaintiff Serena Fleites
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28                                      1
              JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
       BRIEFING SCHEDULE IN FLEITES ACITON AND (B) LIMITED COORDINATION FOR
              PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
Case 2:21-cv-04920-WLH-ADS     Document 474 Filed 10/18/24        Page 12 of 12 Page
                                   ID #:14429



  1                            CERTIFICATE OF SERVICE
  2        I, the undersigned counsel of record for Plaintiff Serena Fleites, certify that the
  3 foregoing instrument was served pursuant to the Federal Rules of Civil Procedure on
  4 October 18, 2024 upon all counsel of record via ECF.
  5
  6 Dated: October 18, 2024                 BROWN RUDNICK LLP
  7
  8                                                /s/ Lauren Tabaksblat
  9                                                Lauren Tabaksblat

 10                                                Attorney for Plaintiff Serena Fleites
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28                                      2
              JOINT STIPULATION TO REQUEST (A) EXTENSION OF REMAINING
       BRIEFING SCHEDULE IN FLEITES ACTION AND (B) LIMITED COORDINATION FOR
              PURPOSES OF RESPONDING TO COMPLAINTS IN RELATED CASES
